This is an appeal from a judgment awarding damages in a condemnation suit brought for the condemnation of a street for a public road. Almost all or both of appellant's briefs consist of comparison or weighing of the evidence of values given, as to the values of the lands to be taken, and the damage to the defendants, by reason of severance.
[1] The only assignments of error made in appellant's opening brief are: First, that the evidence dos not sustain *Page 565 
the verdict, and second, that the compensation awarded respondent is excessive.
If there is any evidence to sustain the awards we cannot weigh the evidence. There is in the record sufficient evidence to sustain the awards of the jury in this case.
The judgment is affirmed.
Conrey, P.J., and Houser, J., concurred.